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                              No. 24-13298

         IN THE UNITED STATES COURT OF APPEALS
                FOR THE ELEVENTH CIRCUIT

                     UNITED STATES OF AMERICA,
                               Plaintiff—Appellee,

                                    v.

                           JULIE CHRISLEY,
                                Defendant—Appellant.

         ON APPEAL FROM THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
          THE HONORABLE ELEANOR L. ROSS, DISTRICT JUDGE
                 CASE NO. 1:19-cr-00297-ELR-JSA


                 APPELLANT’S OPENING BRIEF


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December 20, 2024
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CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
             DISCLOSURE STATEMENT

       Pursuant to 11th Cir. R. 26.1-2(a), the following people and entities have an

interest in the outcome of this appeal:

Anand, Honorable Justin S.                    Regions Bank (RF)
Anulewicz, Christopher S.                     RES-GA (Integrity/Haven)
Buchanan, Ryan K.                             Ross, Eleanor L.
Candence Bank (BCB) (CADE)                    Samuel, Donald F.
Chrisley, Julie                               Security Bank (SECB)
Chrisley, M. Todd                             Sistla, Alex R.
Clarkson, John T.                             Sneed, Sekret T.
Erskine, Kurt R.                              Sommerfeld, Lawrence R.
Georgia Department of Revenue                 SouthState (Midtown) (SSB)
Griffin, Daniel P.                            Sponseller, Alex F.
Jacobs, Julie A.                              Stearns Bank (ABT) (SFSI)
Jones, Vivieon K.                             Synovus, Bank (AFBT) (SNV)
Krepp, Thomas J.                              Tarantino, Peter
Lawson, Zachary C.                            Thompson, Brenton
Leach, Arthur W.                              Truist (Haven) (TFC)
Little, J. Alex                               United Community Bank (UCBI)
Morris, Bruce H.                              United States of America
Pak, Byung J.                                 Vey, Alexander C.
Peters, Annalise K.                           Why, John J. V.
Ramey, E. Travis                              Wilson, Laurabeth




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          STATEMENT REGARDING ORAL ARGUMENT

     Appellant requests oral argument under Federal Rule of Appellate

Procedure 34(a) and Rule 28-1(c) of the Eleventh Circuit Rules.

     Given the unique nature of the case and the facts, some of which

arose after remand, the Appellant believes that oral argument will

provide valuable clarity to the Court in deciding the appeal.




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                    STATEMENT OF JURISDICTION

     The district court had original jurisdiction over this criminal

prosecution under 18 U.S.C. § 3231, and it entered its amended judgment

against the appellant on September 30, 2024. (Doc. 444.)

     Julie Chrisley filed a timely notice of appeal on October 10, 2023.

(Doc. 446.)

     This Court’s appellate jurisdiction arises from 28 U.S.C. § 1291 and

18 U.S.C. § 3742.




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                   STATEMENT OF THE ISSUES

     On direct appeal, this Court vacated Mrs. Chrisley’s sentence. On

remand, her loss amount was reduced from $17 million to $4.7 million,

resulting in a significant reduction in the Guidelines. At resentencing,

the district court acknowledged that the reasons for the downward

variance it previously gave were still present. But, notwithstanding all

this, the court gave her a harsher sentence, imposing the same term of

imprisonment but extending her supervised release term by two years. It

gave no reason for the harsher sentence. Instead, the court spent more

time admonishing Mrs. Chrisley’s daughter, who was in the courtroom,

for public statements she made critical of the case, which the court

learned about off the record. These facts raise the following issues:

     I.    Whether the district court violated Mrs. Chrisley’s due

process rights when it retaliated against her after her successful appeal

by giving her a harsher sentence at resentencing; and

     II.   Whether the district court erred by failing to consider the

Guidelines at re-sentencing when it gave a harsher sentence despite a

significantly reduced Guidelines Range and no change in facts that the

court previously held warranted a downward variance.



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                    STATEMENT OF THE CASE

     A. Nature of the Case

     The first time Julie Chrisley was sentenced, the district court

sentenced her to a below-Guidelines sentence of 84 months in prison

followed by three years of supervised release. But this sentence was

based on a wildly inaccurate loss amount of more than $17 million.

Because there was no evidence to support this amount, this Court

vacated her sentence and remanded for resentencing. On remand, the

government conceded that the appropriate loss amount was about $4.7

million. In turn, Mrs. Chrisley’s Guidelines Range was reduced by more

than 43 months on the low end and 54 months on the high end: from a

range of 121 to 151 months to a range of 78 to 97 months.

     At resentencing, the trial court spent almost no time addressing

this drastic change in Guidelines or grappling with the various

sentencing factors. It did, however, acknowledge that the reasons

underlying its original downward variance were still present. The court,

instead, spent significant time addressing public statements made by

Mrs. Chrisley’s daughter, Savannah Chrisley, who has been critical of

the case against her parents on her podcast and when she spoke at the



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Republican National Convention. The court implied that she made the

statements for podcast and TV ratings, and that she was not considering

the well-being of the children now in her care since her parents’

incarceration. The court also took issue with Savannah’s public

statements about the physical conditions at her mother’s BOP facility,

implying that Mrs. Chrisley’s participation in prison programs somehow

refuted Savannah’s public claims about Mrs. Chrisley’s conditions. None

of this was in the record. None of this was raised by either party. And

none of this was appropriate to consider at sentencing. Nevertheless,

after scolding Savannah for her public comments, the court gave

Mrs. Chrisley a harsher sentence—the same 84 months in prison plus a

two-year extension of supervised release (from three years to five years).

     Nothing in the record or the court’s explanations supported a

harsher sentence. In fact, the opposite is true. Mrs. Chrisley’s Guidelines

were greatly reduced. And the court saw evidence that she has been a

model inmate. The hearing and sentence can only leave one impression

to any reasonable observer: the sentence was vindictive.




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      B. Course of Proceedings

      On August 13, 2019, a federal grand jury indicted Todd and Julie

Chrisley for bank fraud, wire fraud, tax evasion, and various counts of

conspiracy. (Doc. 1.) The indictment also charged their accountant, Peter

Tarantino, with tax crimes. (Id.) Two and half years later, on February

15, 2022, the grand jury issued a superseding indictment. (Doc. 130.) The

new indictment charged Julie with one separate count of obstruction of

justice. (Id.)

      Trial began on May 16, 2022, and ended on June 7, 2022. (Doc. 208;

Doc. 229.) At the close of trial, the jury found Todd and Julie Chrisley

guilty on all counts. (Doc. 228.) On December 5, 2022, the trial court

entered its judgment, sentencing Mrs. Chrisley to 84 months of

imprisonment and three years of supervised release. (Doc. 338.) The

judgment included an order of restitution in the amount of

$17,270,741.57. (Id.) The court subsequently entered an order requiring

the Mr. and Mrs. Chrisley to forfeit the same amount to the United

States. (Doc. 347.)

      That same day, Mrs. Chrisley timely filed her notice of appeal. (Doc.

340.) This Court ruled on Mrs. Chrisley’s appeal several months later,



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affirming the district court on all issues except for the loss amount

attributed to Mrs. Chrisley. (Doc. 415.) On this issue, it found there was

no evidence in the record that Mrs. Chrisley was responsible for the

entire loss amount of the bank-fraud conspiracy, which started in 2006.

(Id.) The Court only found evidence tying Mrs. Chrisley to the conspiracy

starting in 2007, which was after the bulk of the fraudulent loans were

made. (Id. at 42-43.) The Court remanded to the district court to “make

factual findings about when Julie’s involvement in the conspiracy began,

and if it concludes Julie’s involvement started in 2006, it should identify

the evidence on which it bases its finding.” (Id. at 44.)

     On remand, and before resentencing, the parties agreed to a

significantly reduced loss amount of $4.7 million, resulting in the

Guidelines Range dropping by more than one third—from 121 to 151

months to 78 to 97 months. Despite this drastic change, on September

30, 2024, the trial court resentenced Mrs. Chrisley to 84 months of

imprisonment and five years of supervised release. (Doc. 444.) The

judgment included an order of restitution in the amount of $4,740,645.04.

(Id.) The court also entered an order for forfeiture of the same amount.

(Doc. 442.)



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     C. Statement of the Facts

     At the resentencing hearing on September 25, 2024, the

government claimed that the initial 84-month sentence remained

appropriate despite the lower loss amount. (Id. at 6.) Defense counsel, on

the other hand, argued that the significant reduction in the loss amount,

the lower offense level, the reduced Guidelines Range, and the two-point

reduction   for   her   zero-point   offender       status   all     warranted     a

corresponding reduction in sentence. (Id. at 21.)

     In addition to the reasons that compelled the court to impose a

significant downward variance at Mrs. Chrisley’s original sentencing,

defense counsel argued that Mrs. Chrisley’s lack of criminal history,

combined with her exemplary behavior while incarcerated—including

numerous rehabilitative program certifications—demonstrated her

ability to reintegrate into society and supported a sentence below the

Guidelines Range. (Doc. 445 at 22.)

     The district court did not engage substantively with any of these

arguments. At the conclusion of defense counsel’s argument, the trial

court made its first reference to ex parte information it had apparently

learned about Savannah Chrisley’s podcast. Specifically, the court



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referred to Savannah’s public statements1 about her mother’s prison

conditions, implying that Mrs. Chrisley’s participation in prison

programs contradicted Savannah’s public, out-of-court claims about the

prison’s poor conditions:

             Before you step away, because you did [supply prison]
             certificates… that were presented to the court. And I
             didn’t know earlier that I reviewed them. So it sounds
             like there have been many opportunities for Ms.
             Chrisley to take advantage of while she’s been in
             custody which is a little different from what I
             thought from some of the stuff I’ve seen about these
             facility conditions. But it sounds like she’s got many
             opportunities to do good things.

(Doc. 445 at 24) (emphasis added).

      Defense counsel responded that the concerns about prison

conditions were health related and distinct from the programming that

is available at the facility. (Id. at 25.) The court retorted that those facts

were not in the record, which was odd because it was the court—not

defense counsel—that raised the issue. (Id.)

      As it turned out, the court’s comment was not an isolated incident

expressing some minor frustration with Savannah’s public statements,

though that would be improper on its own. What became clear is that the

1
       Official Update on Todd & Julie Chrisley’s Federal Appeal, Unlocked with Savannah
Chrisley, YOUTUBE, at 19:30 (Apr. 16, 2014), https://www.youtube.com/watch?v=it2ZC8p0o4I.

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court was unhappy with a variety of Savannah’s statements2 about the

case itself. The court next accused Savannah, who now has custody of two

minor children formerly in her parents’ custody, of making false

statements about the case on her podcast and TV, which the court said

would be harmful to the children:

              And what I would say to any adult who is entrusted with
              the care and supervision of a young child and who is
              putting false, misleading inaccurate information out
              there into the universe, that information is going to
              make its way back to that young child, because even if
              you aren’t saying it directly to that child, children find
              their way to the internet, and others talk. And it doesn’t
              take a licensed therapist like the one who wrote me
              letters to recognize that, once that child discovers the
              reality and that what he or she has been told is not
              what’s really going on in the case and is not accurate in
              terms of when mommy and daddy are coming home, it’s
              such a significant letdown that it is a serious risk to that
              child’s emotional and mental well-being, the same well-
              being that I am being asked to consider.

              And so what I would say to anybody involved in this who
              is responsible for the care of these children at issue we’re
              talking about so much here is, I hope that you are
              concerned with their well-being, not with any TV
              ratings, podcast audiences, anything, but with their
              well-being so that you are, first of all, being honest with

2
        Official Update on Todd & Julie Chrisley’s Federal Appeal, Unlocked with Savannah
Chrisley, YOUTUBE, (Apr. 16, 2014), https://www.youtube.com/watch?v=it2ZC8p0o4I;
‘Outhouse to Whitehouse’ (ft. Alice Marie Johnson), Unlocked with Savannah Chrisley,
YOUTUBE,        (Sept. 17, 2024) https://www.youtube.com/watch?v=D4ksL7mFrqI; Julie’s
Resentencing is Tomorrow . . . , Unlocked with Savannah Chrisley, YOUTUBE, (Sept. 24, 2014),
https://www.youtube.com/watch?v=netpLX6iu3A.

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             them about what has happened in this case and teaching
             them how to be good people. Truthful people that don’t
             cheat, that don’t steal, that understand, when you
             engage in wrongdoing, there are consequences, whether
             you’re a child or an adult. That’s important.

(Doc. 445 at 32-33.)

      These criticisms were no doubt directed at Savannah, who was

present in the courtroom and has a popular podcast, called “Unlocked

with Savannah Chrisley,” where she frequently discusses her parents’

case and has, at times, criticized the trial court’s handing of the case.3

Savannah also spoke about the case and her belief in her parents’

innocence on television once: in a speech at the 2024 Republican National

Convention. This perhaps is why the trial court referenced “TV ratings.”

      After expressing its dissatisfaction with Savannah, the court

swiftly moved to sentencing. The court said that its initial decision to

grant a downward variance “was not directly connected to a precise loss

amount or number of years in the conspiracy.” (Id. at 33.) Rather, it felt

the previously calculated Guidelines were “way higher than what Mrs.

Chrisley deserved” considering “Mrs. Chrisley’s age and health and the




      3
      ‘Outhouse to Whitehouse’ (ft. Alice Marie Johnson), Unlocked with Savannah Chrisley,
YOUTUBE, (Sept. 17, 2024) https://www.youtube.com/watch?v=D4ksL7mFrqI.

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fact that she was a caretaker for elderly and children. . .” (Id. at 33-34.)

The court acknowledged that these same reasons still applied:

               None of that has changed. Everything that I took into
               account is still the same. Everything that I based my
               downward variance on is the same.

(Id. at 34.)

      The court then paid lip service to the Guidelines before saying that

its prior variance had nothing to do with the loss amount: “Although I

completely accept the findings of the court of appeals, and we do need to

have accurately calculated guidelines, but my downward variance was

not tied to the loss amount or the number of years in the conspiracy.” (Id.)

      Nonetheless, it imposed a sentence of 84 months’ imprisonment

followed by five years of supervised release—the same length of

imprisonment as Mrs. Chrisley’s original sentence and an additional two

years of supervised release. (Id. at 34.)

      Defense counsel raised multiple objections. First, counsel objected

to the court’s failure to consider the new Guidelines. (Id. at 37.) Second,

defense counsel objected to the sentence, which was harsher than Mrs.

Chrisley’s original sentence despite the lowered Guidelines Range, as

“retaliatory.” (Id.) And third, defense counsel objected to the trial court’s



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apparent reference to statements by Mrs. Chrisley’s daughter, Savannah,

on her podcast because any such information from the podcast was not

formally entered into the record and should not influence sentencing.

(Id.)

        The court responded to this objection by stating, “I have not

considered any podcasts or anything in terms of the sentence. That was

a comment referencing the children, because the children have been

referenced here, and the person to whom that was directed wrote this

Court a letter for consideration during this sentencing.” (Id. at 37.) This

response again reflected that the court was referring to Savannah’s

public statements. (Id. at 37-38.)

        D. Standard of Review

        This Court “review[s] constitutional challenges to a sentence de

novo.” United States v. Chau, 426 F.3d 1318, 1321 (11th Cir. 2005).

        E. Appellant’s Bail Status

        Julie Chrisley is currently incarcerated pending this appeal.




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                  SUMMARY OF THE ARGUMENT

     The district court sentence was vindictive. Mrs. Chrisley won her

direct appeal because the district court improperly sentenced her for the

entire scope of the alleged conspiracy. On remand, the parties agreed to

reduce the loss amount by over $12 million to reflect this fact, and her

Guidelines were significantly reduced. Yet the district court responded

with a harsher sentence. Specifically, it gave her the same amount of

prison time plus an additional two years of supervised release.

     The district court provided no rationale for the harsher sentence.

The sentence was therefore presumptively vindictive. And there is

nothing in the record to overcome this presumption. To the contrary, the

district court acknowledged that all the reasons why it gave a significant

downward variance previously still applied. This Court should vacate her

sentence and reassign the sentencing to a different judge on remand.

     Even setting aside this presumption, Mrs. Chrisley is entitled to the

same relief because the district court showed actual bias. At

resentencing, the court scolded Mrs. Chrisley’s daughter Savannah for

public statements she made about the case on her podcast and on

television. The court also took issue with public statements Savannah



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made about the poor conditions at her mother’s prison. This information

was obtained ex parte, and it was not in the record. And Savannah’s

public statements about the case—which are protected by the First

Amendment—are irrelevant to her mother’s sentencing. With no other

reason to give Mrs. Chrisley a harsher sentence, and considering the

court’s focus on Savannah’s statements at the hearing, any reasonable

observer would conclude, at the very least, that the district court was

potentially biased.

      In addition, the district court committed procedural error by failing

to consider the Guidelines. At resentencing, the court explained that its

significant downward variance in Mrs. Chrisley’s original sentence was

not related to the loss amount and was related only to factors that had

not changed. Yet, despite a reduction of about 35% to the Guidelines

Range, the court declined to give a downward variance and gave the same

prison sentence plus additional time on supervised release. In doing so,

the court improperly gave the Guidelines no consideration.

     As a result, this Court should again vacate Mrs. Chrisley’s sentence

and reassign her resentencing to a different judge to maintain the

appearance of impartiality.



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                              ARGUMENT

       Mrs. Chrisley received a vindictive and unfair sentence from a

judge personally biased against her and her family. Justice demands that

Mrs. Chrisley be resentenced before a new judge to preserve the

appearance of an impartial, fair judiciary in the eyes of Mrs. Chrisley,

other criminal defendants, and members of the public.

  I.     Mrs. Chrisley Received a Retaliatory Sentence.

       The Constitution’s Due Process Clause protects defendants from a

retaliatory sentence upon their successful appeal of their conviction.

North Carolina v. Pearce, 395 U.S. 711, 725 (1969), partially overruled on

other grounds by Alabama v. Smith, 490 U.S. 794 (1989). This protection

is critical so that the defendant is not deterred from exercising her right

to appeal out of fear that the sentencing judge will retaliate against her

if she succeeds. Id.

       Following Mrs. Chrisley’s successful appeal of her original

sentence, the court violated her due process rights by retaliating against

her with a harsher sentence. Specifically, on resentencing, Mrs. Chrisley

received a zero-point offender reduction and a drop in the loss amount

from more than $17 million to around $4.7 million—a reduction of more



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than 70% of the original loss amount. Her Guidelines were accordingly

reduced from a range of 121 to 151 months to a range of 78 to 97 months.

Yet, on remand, the district court resentenced her to 84 months of

confinement, followed by five years of supervised release—the same

period of incarceration followed by a two-year increase in supervised

release. No new facts justified a harsher sentence, and the court did not

point to any justification. On the contrary, the court noted that all the

reasons it previously held entitled Mrs. Chrisley to a downward variance

in her original sentence were still present.

        a. A Presumption of Vindictiveness Applies.

     To guard against the risk of vindictive resentencing, the Supreme

Court in Pearce adopted a prophylactic rule under which a presumption

of vindictiveness arises if two conditions are present: (1) the sentencing

judge “imposes a more severe sentence” upon resentencing; and (2) no

non-vindictive reasons for doing so “affirmatively appear” in the record.

395 U.S. at 726; see also Smith, 490 U.S. at 798. If those two conditions

are met, “a presumption arises that [the] greater sentence has been

imposed for a vindictive purpose—a presumption that must be rebutted




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by objective information justifying the increased sentence.” Smith, 490

U.S. at 798-88.

     Both conditions are present here.

     First, Mrs. Chrisley’s sentence on remand is more severe because

the district court gave her two additional years of supervised release.

Notably, for the presumption to apply, the increased sentence need not

be a sentence of confinement; courts have considered vindictiveness in

increased terms of supervised release and probationary sentences as

well. See, e.g., United States v. Andrade-Castillo, 618 F. App'x 879, 881

(9th Cir. 2015); United States v. Curtin, 558 F.3d 993, 998 (9th Cir. 2009);

United States v. Hodge, 559 F. App’x. 43 (2d Cir. 2014); United States v.

Rapal, 146 F.3d 661, 663 (9th Cir. 1998).

     In Andrade-Castillo, for example, the Ninth Circuit found that the

presumption of vindictiveness applied when the district court imposed a

five-year probationary sentence on remand, which was “a more severe

sentence” than the three years of supervised release originally imposed.

618 F. App’x. at 881. The Court held that “[t]he presumption of

vindictiveness arises from any sentence the ‘practical effect’ of which is

more severe than the original sentence.” Id. This vindictive two-year



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increase in supervision in Andrade-Castillo is the same vindictive two-

year increase Mrs. Chrisley received upon resentencing here.

     Second, no non-vindictive reason for doing so “affirmatively

appear[s]” in the record. In Rapal, the defendant was originally

sentenced to six months in custody, with one month to be served in prison

and the other five to be served in home confinement. 146 F.3d at 663.

Upon appeal, the defendant was resentenced to four months’

imprisonment and one year of supervised release. Id. The Ninth Circuit

found that the increase in the defendant’s imprisonment from one month

to four months was vindictive, even though the defendant’s total

confinement decreased from six months to four months. Id. The Court

explained that, “[w]hile the record does not have to show that the judge

was not actually punishing Rapal for taking the appeal, the record must

show more than that the judge simply articulated some reason for

imposing a more severe sentence.” Id. at 664.

     Here, just as in Rapal, the court gave no reason for imposing the

more severe sentence, leading to a finding of vindictiveness. See id. To

the contrary, it noted that all the reasons it originally gave Mrs. Chrisley

a downward departure were still present. Still, despite her Guidelines



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Range being reduced by more than one-third as a result of her successful

appeal, Mrs. Chrisley received a higher sentence upon re-sentencing.

Because the totality of her sentence was more severe, and because no

non-vindictive reason for the increased sentence affirmatively appears in

the record, the presumption of vindictiveness applies.

        b. There is Nothing in the Record to Overcome the
           Presumption of Vindictiveness.

     A presumption of vindictiveness “may be overcome only by objective

information in the record justifying the increased sentence.” Wasman,

468 U.S. 559, 565 (1984). Such information can include new evidence

introduced at sentencing or a new trial, from a new presentence

investigation, or from the defendant’s prison record. Id. at 571.

     No information in the record supports increasing Mrs. Chrisley’s

supervised release term by two years. No new evidence at sentencing or

from a new presentence investigation exists to support the need for

increased supervision. The only new information before the court was the

reduction of Mrs. Chrisley’s loss amount by over $12 million, her benefit

of the new zero-point offender reduction, and the fact that she had been

a model inmate since her incarceration.




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     And it is not the case that the court simply forgot to mention some

change in circumstance. It stated immediately before imposing the new

sentence that “[e]verything that [it] took into account is still the same.

Everything that [it] based [its] downward variance on is the same.” (Doc.

445 at 34.) The record is not only devoid of any explanation for the

increase in Mrs. Chrisley’s term of supervised release but indicates that

there were no changes in circumstances before the court. No events or

conduct “of the defendant occurring after the initial sentencing” existed

“to show a nonvindictive motive.” Wasman, 468 U.S. at 572. In fact, “the

only relevant event occurring after the initial sentencing was [Mrs.

Chrisley]’s appeal.” Rapal, 146 F. 3d at 663.

     An increase in Mrs. Chrisley’s term of supervised release based on

her successful appeal creates a presumption of unconstitutional

vindictiveness. And there is nothing in the record that to rebut the

presumption. This appearance of vindictiveness is exactly the “evil the

[Pearce] Court sought to prevent.” Texas v. McCullough, 475 U.S. 134,

138 (1986).




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         c. The Record Shows Actual Vindictiveness.

      Even if the presumption of vindictiveness does not apply, a

defendant can still “affirmatively prove actual vindictiveness.” Wasman,

468 U.S. at 568-69. However, “[t]he existence of a retaliatory motivation

would, of course, be extremely difficult to prove in any case.” Pearce, 395

U.S. at 725 n.20. But here, the record shows vindictiveness based on the

district court’s extensive criticism of public statements by Mrs. Chrisley’s

daughter. Savannah is the host of a podcast named “Unlocked with

Savannah Chrisley.” The successful podcast has 160,000 subscribers on

YouTube alone, and often receives hundreds of thousands of views on its

episodes. On the podcast, Savannah often talks about Mrs. Chrisley’s

case, including mentioning and criticizing the district court’s handling of

the case. In addition, Savannah criticized the court’s handling of the case

while speaking at the nationally televised Republican National

Convention in July 2024.4

      Mrs. Chrisley’s daughter, of course, has a First Amendment right

to criticize how a court handled her parents’ case. And there was no



4
        PBS NewsHour, WATCH: Savannah Chrisley speaks at 2024 Republican National
Convention     |    2024    RNC    Night  2,   YOUTUBE,     (July   16,   2024),
https://www.youtube.com/watch?v=KdMxsXAFpeU.

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indication that she was speaking for Mrs. Chrisley. Nor were Savannah’s

public comments part of the record. But the court was unhappy with the

comments and chose to make sure Savannah (and everyone else in the

courtroom) knew how she felt. This was improper. And it is the only thing

in the record that explains why Mrs. Chrisley was punished more harshly

after her successful appeal.

        d. The Appropriate Remedy is Resentencing Before a
           Different Judge.

     This Court has “the authority to order reassignment of a criminal

case to another district judge as part of [its] supervisory authority over

the district courts in this Circuit.” United States v. Torkington, 874 F.2d

1441, 1446 (11th Cir. 1989) (citations omitted).

     This supervisory power to reassign cases applies in a variety of

circumstances. See Brooks v. Central Bank of Birmingham, 717 F.2d

1340, 1343 (11th Cir. 1983) (“stalemated posture” required reassignment

of case to different judge). And it applies any time it is “just under the

circumstances.” 28 U.S.C. § 2106; Liteky v. United States, 510 U.S. 540,

554 (1994) (discussing the appellate courts’ authority to assign a case to

a different judge on remand when justice requires). Further,

“[r]eassignment [to a different district judge] is appropriate where the


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trial judge has engaged in conduct that gives rise to the appearance of

impropriety or a lack of impartiality in the mind of a reasonable member

of the public.” Torkington, 874 F.2d at 1446.

     Reassignment on remand is the appropriate remedy here. First, the

trial court’s comments during sentencing aimed at public criticism of the

court by Mrs. Chrisley’s daughter were made sua sponte and had no

relevance to Mrs. Chrisley’s sentencing. But they did demonstrate that

the court knew about Savannah’s out-of-court criticisms and was

frustrated by them. The court even accused Savannah of making the

public statements to enhance her own podcast and TV ratings.

     Viewing the resentencing transcript in its totality shows that

Savannah’s criticism of the case and her mother’s prison conditions were

front and center for the trial court at the hearing. Despite spending

significant time criticizing Savannah’s comments and motivation, the

court provided no meaningful discussion of the relevance of the revised

guidelines or its decision to abandon the previously granted downward

variance. This evidence of actual bias warrants reassignment.

     At the very least, under these circumstances, a “reasonable person

would question the trial judge’s impartiality.” Torkington, 874 F.2d at



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1446. This is enough to require reassignment. Id. Indeed, even when

there is “no indication of actual bias,” this Circuit considers three factors

enumerated by the Second Circuit when determining whether a case

should be reassigned: “(1) whether the original judge would have

difficulty putting h[er] previous views and findings aside; (2) whether

reassignment is appropriate to preserve the appearance of justice;

(3) whether reassignment would entail waste and duplication out of

proportion to gains realized from reassignment.” Id. at 1447.

     When there is a presumption of vindictiveness or evidence of actual

bias, as here, reassignment is necessary to purge the appearance of

retaliation. See, e.g., United States v. Mazzaferro, 865 F.2d 450, 460 (1st

Cir. 1989) (“Without drawing any conclusions as to the district court’s

actual reasons for appellant’s sentence, we believe that the appearance

of retaliation is great enough on the facts of this case to require that the

sentence imposed be set aside and the case remanded for resentencing by

a different judge.”)

     Reassignment cures the issue. As the Supreme Court has

acknowledged, a different judge is “unlikely to have a ‘personal stake’ in

the prior conviction,” thus eliminating the presumption of vindictiveness.



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Alabama v. Smith, 490 U.S. 794, 800 (1989); see also United States v.

Perez, 904 F.2d 142, 145–46 (2d Cir. 1990); Rock v. Zimmerman, 959 F.2d

1237, 1257 (3d Cir. 1992), overruled on other grounds by Brecht v.

Abrahamson, 507 U.S. 619 (1993); United States v. Cheek, 3 F.3d 1057,

1064 (7th Cir. 1993); United States v. Anderson, 440 F.3d 1013 (8th Cir.

2006); United States v. Newman, 6 F.3d 623, 630–31 (9th Cir. 1993);

Macomber v. Hannigan, 15 F.3d 155, 156–57 (10th Cir. 1994).

     In addition to avoiding the appearance of retaliation, reassignment

is appropriate here because the court’s rulings have created a

“stalemated posture” like the one in Brooks. 717 F.2d at 1343. At Mrs.

Chrisley’s original sentencing, the court declined to make particularized

findings to support its loss amount calculation for the Guidelines, even

at defense counsel’s explicit request. (Doc. 363 at 175.) And at

resentencing, it gave no indication it considered the corrected Guidelines.

It failed to explain how it arrived at its sentence at all, spending far more

time addressing Savannah Chrisley’s public comments than grappling

with appropriate sentencing considerations.

     Even so, by reassigning Mrs. Chrisley’s second resentencing to a

different district judge, this Court need not “question the district judge’s



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ability, integrity, and impartiality.” Torkington, 874 F.2d at 1447.

Instead, this Court would be “preserv[ing] not only the reality but also

the appearance of the proper functioning of the judiciary as a neutral,

impartial administrator of justice.” Id.

  II.        The Court Did Not Consider the Changed Sentencing
             Guidelines

        Even if the sentence were not vindictive, and it was, this Court

should still remand for resentencing due to other procedural errors.

        The Sentencing Guidelines are the district court’s “starting point”

and “initial benchmark” for sentencing. Gall v. United States, 552 U.S.

38, 49 (2007). Courts “must begin their analysis with the Guidelines and

remain cognizant of them throughout the sentencing process.” Peugh v.

United States, 569 U.S. 530, 541 (2013). The district court here did not

consider the Guidelines when it failed to shorten Mrs. Chrisley’s sentence

after a significant Guidelines reduction corresponding with a decreased

loss amount and offender status.

        At    resentencing, when   discussing     Mrs.    Chrisley’s    original

sentencing, the court stated “[t]he downward variance that I gave . . . was

not directly connected to a precise loss amount or number of years in the

conspiracy. Those things, in my mind, had already been accounted for in


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the Guidelines.” (Doc. 445 at 33.) When explaining why it granted a

variance, the court stated, “I simply looked at where we were in the

Guidelines, thought it was way higher than what Mrs. Chrisley deserved,

and so, contrary to what the government urged me to do, I gave a

significant downward variance.” (Id. at 33-34.)

     The court identified the factors it considered in granting a

downward variance during the first sentencing as “Ms. Chrisley’s age and

health and the fact that she was a caretaker for elderly and children,

[which] haven’t changed. None of that has changed. Everything that I

took into account is still the same. Everything that I based my downward

variance on is the same.” (Id. at 34.)

     Immediately before pronouncing the new sentence, the district

court stated, “[a]lthough I completely accept the findings of the Court of

Appeals, and we do need to have accurately calculated Guidelines, but

my downward variance was not tied to the loss amount or the number of

years in conspiracy. So my sentence will not change.” (Id.) It therefore

was tied only to the things the court had acknowledged had not changed.

     Yet the court did not depart from the new Guidelines Range of 78

to 97 months and sentenced Mrs. Chrisley to 84 months of imprisonment



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followed by 5 years of supervised release. If the district court followed its

own reasoning, it would have granted a downward variance from the new

Guidelines. After all, the court acknowledged the same reasons for the

original downward variance applied. And it said the downward variance

was unrelated to loss amount. By that logic, the same downward variance

should have been applied within the new Guidelines Range. But the court

instead sentenced Mrs. Chrisley to the same 84 months of imprisonment

and added two years to her supervised release term. In arriving at the

same sentence despite much lower Guidelines, with no stated reason why

a downward variance no longer applies, the court failed to consider the

Guidelines and thus committed procedural error.

                             CONCLUSION

     For all these reasons, this Court should again vacate Mrs.

Chrisley’s sentence and remand for resentencing before a different judge.




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                              Dated: December 20, 2024




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                    CERTIFICATE OF SERVICE

  I hereby certify that I served this brief on all counsel of record through

the Court’s CM/ECF system on December 20, 2024.

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